                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al.,1                                    Case No. 22-11068 (JTD)

          Debtors.                                            (Jointly Administered)



                     NOTICE OF DEBTORS’ INTENT TO OFFER WITNESS
                     TESTIMONY AT THE HEARING ON JANUARY 20, 2023

          PLEASE TAKE NOTICE that FTX Trading Ltd. and its affiliated debtors and debtors-

in-possession (collectively, the “Debtors”) hereby provide the following information regarding

the witnesses they intend to present at the hearing scheduled in the above-captioned chapter 11

cases (the “Chapter 11 Cases”) on January 20, 2023 (the “Hearing”):

                          INFORMATION ON WITNESS NUMBER ONE

          1. Name and title of witness: John J. Ray, III, the Debtors’ Chief Executive Officer.

          2. Scope of testimony: Mr. Ray will testify regarding (a) the retention of Sullivan &
             Cromwell LLP as the Debtors’ counsel, (b) the retention of AlixPartners, LLP as the
             Debtors’ forensic investigation consultant and (c) the retention of Quinn Emanuel
             Urquhart & Sullivan, LLP as Debtors’ special counsel.

          3. Direct testimony of witness: Mr. Ray’s direct testimony has been presented through
             the (a) Declaration of John J. Ray III in Support of Debtors’ Application for an Order
             Authorizing the Retention and Employment of Sullivan & Cromwell LLP as Counsel
             to the Debtors and Debtors-in-Possession Nunc Pro Tunc to the Petition Date [D.I.
             270, Ex. B]; (b) Declaration of John J. Ray III in Support of Debtors’ Application for
             Entry of an Order Authorizing the Retention and Employment of Quinn Emanuel
             Urquhart & Sullivan, LLP as Special Counsel for the Debtors and Debtors in
             Possession, Nunc Pro Tunc to November 13, 2022 [D.I. 280, Ex. C] and
             (c) Supplemental Declaration of John J. Ray III in Support of Debtors’ Applications
             for Orders Authorizing the Retention and Employment of Sullivan & Cromwell LLP,

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     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
     list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX.


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                AlixPartners LLP and Quinn Emanuel Urquhart & Sullivan, LLP [D.I. 511]. The
                Debtors may elicit additional direct or rebuttal testimony from Mr. Ray at the
                Hearing.

          4. Location and place from which the witness will testify: Mr. Ray will be available to
             testify in person.

                         INFORMATION ON WITNESS NUMBER TWO

          1. Name and title of witness: Andrew G. Dietderich, Partner at Sullivan & Cromwell
             LLP, the Debtors’ proposed counsel.

          2. Scope of testimony: Mr. Dietderich will testify regarding the disclosures related to
             the retention of Sullivan & Cromwell LLP as the Debtors’ counsel.

          3. Direct testimony of witness: Mr. Dietderich’s direct testimony has been presented
             through the (a) Declaration of Andrew G. Dietderich in Support of Debtors’
             Application for an Order Authorizing the Retention and Employment of Sullivan &
             Cromwell LLP as Counsel to the Debtors and Debtors-in-Possession Nunc Pro Tunc
             to the Petition Date [D.I. 270, Ex. C] and (b) Supplemental Declaration of Andrew G.
             Dietderich in Support of Debtors’ Application for an Order Authorizing the Retention
             and Employment of Sullivan & Cromwell LLP as Counsel to the Debtors and
             Debtors-in-Possession Nunc Pro Tunc to the Petition Date [D.I. 510]. The Debtors
             may elicit additional direct or rebuttal testimony from Mr. Dietderich at the Hearing.

          4. Location and place from which the witness will testify: Mr. Dietderich will be
             available to testify in person.

                        INFORMATION ON WITNESS NUMBER THREE

          1. Name and title of witness: Alexa J. Kranzley, Partner at Sullivan & Cromwell LLP,
             the Debtors’ proposed counsel.

          2. Scope of testimony: Ms. Kranzley will testify regarding the correspondences
             between Sullivan & Cromwell LLP and the Office of the United States Trustee
             regarding the supplemental disclosures in connection with the retention of Sullivan &
             Cromwell LLP as the Debtors’ counsel.

          3. Direct testimony of witness: Ms. Kranzley’s direct testimony has been presented
             through the Declaration of Alexa J. Kranzley in Support of Debtors’ Application for
             an Order Authorizing the Retention and Employment of Sullivan & Cromwell LLP as
             Counsel to the Debtors and Debtors-in-Possession Nunc Pro Tunc to the Petition
             Date [D.I. 512]. The Debtors may elicit additional direct or rebuttal testimony from
             Ms. Kranzley at the Hearing.




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          4. Location and place from which the witness will testify: Ms. Kranzley will be
             available to testify in person.


                                  RESERVATION OF RIGHTS

          The Debtors reserve the right to amend and supplement this witness list at any time prior

to the Hearing. Additionally, the Debtors reserve all rights to cross examine any and all

witnesses proffered at the Hearing, and to call any rebuttal witnesses as they may deem

necessary at the Hearing.




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Dated: January 18, 2023       LANDIS RATH & COBB LLP
       Wilmington, Delaware
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                              -and-

                              SULLIVAN & CROMWELL LLP
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                              James L. Bromley (admitted pro hac vice)
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                              Proposed Counsel for the Debtors
                              and Debtors-in-Possession




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